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                               UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF MASSACHUSETTS


 CHANNEL FISH PROCESSING CO., INC.,

                    Plaintiff,                          Civ. A. No.

            vs.

 LA BARRIQUE PUB GOURMAND INC.,

                    Defendant


                                             COMPLAINT

                                   PARTIES AND JURISDICTION

        1.         The plaintiff, Channel Fish Processing Co., Inc., is a Massachusetts corporation

with its principal place of business at 200 Commerce Dr., Braintree, Mass.

        2.         The defendant, La Barrique Pub Gourmand Inc., is a Québec corporation with its

principal place of business at 28 ch. de la Côte-Saint-Louis Ouest, Blainville, QC J7C 1B8,

Canada.

        3.         The amount in controversy, exclusive of interest and costs, exceeds $75,000.

        4.         The Court has jurisdiction under 28 U.S.C. § 1332(a)(2).

                                                FACTS

        5.         On or about February 9, 2023 the defendant ordered 4,990.4 lbs. of fresh

Canadian salmon from the plaintiff at $9 per pound. The plaintiff accepted the order and shipped

4,990.44 lbs. of fish on February 10, 2023. A true copy of the invoice, for $44,913.96, is attached

to this Complaint as Exhibit 1.

        6.         On or about February 16, 2023 the defendant ordered 5,024.2 lbs. of fresh

Canadian salmon from the plaintiff at $9 per pound. The plaintiff accepted the order and shipped


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5024.24 lbs. fish on February 17, 2023. A true copy of the invoice, for $45,218.16, is attached to

this Complaint as Exhibit 2.

        7.     On or about February 23, 2023, the defendant ordered 4,898.3 lbs. of fresh

Canadian salmon from the plaintiff at $9.50 per pound. The plaintiff accepted the order and

shipped 4898.34 lbs. of fish on February 23, 2023. A true copy of the invoice, for $46,534.23, is

attached to this Complaint as Exhibit 3.

        8.     On or about March 2, 2023 the defendant ordered 5,000 lbs. of fresh Canadian

salmon from the plaintiff at $9.50 per pound. The plaintiff accepted the order and shipped

4,896.76 lbs. of fish on March 3, 2023. A true copy of the invoice, for $44,913.96, is attached to

this Complaint as Exhibit 4.

        9.     On or about March 9, 2023 the defendant ordered 5,000 lbs. of fresh Canadian

salmon from the plaintiff at $9.50 per pound. The plaintiff accepted the order and shipped

4,986.18 lbs. fish on March 10, 2023. A true copy of the invoice, for $47,368.71, is attached to

this Complaint as Exhibit 5.

        10.    Payment on each invoice was due 21 days from the date of invoice.

        11.    The plaintiff has complied with all its obligations to the defendant. In particular, it

delivered the goods purchased, and those goods were of the quantity (subject to allowances

standard and established in the industry), quality, and description required by the contract.

        12.    The defendant has not paid any of the invoices, in part or in full, and they are

overdue.

        13.    The defendant has not rejected the goods or declared the contract avoided.




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                                            Count One
                                      Breach of Sales Contract
                                         CISG arts. 61, 74

        14.    The plaintiff incorporates the allegations of paragraphs 1 to 13.

        15.    The plaintiff and the defendant were parties to contracts for the sale of goods,

supported by good and valuable consideration.

        16.    The plaintiff has fully performed its obligations under the contracts.

        17.    The defendant has breached the contracts.

        18.    The plaintiff has been injured by the defendant’s breaches of contract.

                                            Count Two
                                         Unjust Enrichment

        19.    The plaintiff incorporates the allegations of paragraphs 1 to 18.

        20.    The plaintiff conferred a benefit upon the defendant.

        21.    The defendant knew of the benefit and accepted it.

        22.    Retention of the benefit by the defendant without payment is inequitable.

                                      DEMAND FOR RELIEF

        Therefore, the plaintiff demands judgment against the defendant for damages in the

amount of $228,949.02, with prejudgment interest, costs, and such other relief to which the

plaintiff may be entitled at law or in equity.




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                                           Respectfully submitted,

                                           CHANNEL FISH PROCESSING CO., INC.

                                           By its attorney:

                                           /s/ Theodore J. Folkman

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Dated: May 19, 2023




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